Case 3:18-cv-00840-GPC-BGS Document 340 Filed 12/15/20 PagelD.8095 Page 1 of 1

 

UNITED STATES DISTRICT COURT

for the
Southern District of California

In re Outlaw Laboratory, L.P. Litig. Case No. 3:18-cv-840-GPC-BGS

Plaintiff,

Defendant.

 

 

(Pursuant to General Order 514-C, Section 2(1),
No Electronic Public Access is to be Provided to this Document)

MOTION TO APPEAR TELEPHONICALLY OR BY VIDEOCONFERENCE DURING
THE COVID-19 PUBLIC EMERGENCY

 

 

Motion on behalf of: Defendant Counsel CF Plaintiff Counsel
1 Defendant DO) Plaintiff
I/we hereby ask leave of the Court to appear telephonically or by videoconference on
December 18, 2020 fora Motion Hearing
Date Hearing/Conference (e.g., Motion Hearing)

for the following reason(s):

C1 I have been diagnosed with, or had contact with, someone who has been diagnosed with
Covid-19;

C1 I have a medical condition or take medication that makes me susceptible to contracting Covid-19
and/or puts me at risk of having Covid-19 complications;

LJ I have been told by a medical professional to self-quarantine;

LC I live with or care for someone who is susceptible to contracting Covid-19 and/or at risk of
having Covid-19 complications;

[J I have traveled, reside with or had close contact with someone who has traveled to a country
within the last 14 days for which the CDC has issued Level Three travel health notices;

I have childcare issues;

CO Other:

 

Date: December 15, 2020 Drench A- Ceccp etre’

Counsel’s Signatpire

David A. Sergenian (SBN 230174)

Printed name and bar number of Counsel

 

 

For good cause, this Court grants the motion of the party(s) listed above, to appear telephonically or by
videoconference on for the reasons stated above.

 

 

 

Date Judge’s Signature
